     Case 3:18-cv-00395-L-BLM Document 74 Filed 08/31/21 PageID.1443 Page 1 of 3



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     DAVID HAYES
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10
                           UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
11

12
     CRYSTAL HILSLEY, ADRIENNE                        Case No.: 3:18-cv-00395-L-BLM
13   MORRIS, NIKKI COOK, and DAVID
     CHRISTENSEN, individually and on
14   behalf of all others similarly situated,         NOTICE OF DISMISSAL

15   Plaintiff,
16       vs.
     GENERAL MILLS, INC. and
17   GENERAL MILLS SALES, INC.
18
     Defendants.
19

20          NOTICE IS HEREBY GIVEN that Plaintiff-Intervenor, pursuant to
21   Federal Rule of Civil Procedure 41(a)(1), hereby voluntarily dismisses his interest
22
     in this case with prejudice. Plaintiff-Intervenor has not filed a Complaint in
23
     intervention, nor filed a motion for summary judgment. Although this case was
24
     filed as a class action, no class has been certified, and court approval of this
25
     voluntary dismissal is therefore not required under Rule 23(a) of the Federal Rules
26
     of Civil Procedure.
27
             RESPECTFULLY SUBMITTED this 31th day of August 31, 2021.
28




                                           Notice of Dismissal - 1
     Case 3:18-cv-00395-L-BLM Document 74 Filed 08/31/21 PageID.1444 Page 2 of 3



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                                 LAW OFFICES OF TODD M. FRIEDMAN, P.C.
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                                      By: /s/ Todd M. Friedman
3
                                          TODD M. FRIEDMAN, ESQ.
4                                         Attorney for Plaintiff-Intervenor, David
5                                         Hayes
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                                   Notice of Dismissal - 2
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2
                              CERTIFICATE OF SERVICE
3
     Filed electronically on this 31 day of August, 2021, with:
4

5    United States District Court CM/ECF system
6
     Notification sent electronically on this 31th day of August, 2021, to:
7

8    Honorable Judge M. James Lorenz
     United States District Court
9
     Southern District of California
10

11
     s/Todd M. Friedman
12   Todd M. Friedman, Esq.
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                                       Notice of Dismissal - 3
